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              Livingston Township Fund One
                  31-Dec-22


                                                        Jan - Dec 22




              Income                                       470,635.16
                              Rental Income
              Total Income                                 470,635.16
                                                           470,635.16
              Expense
                              Bank Charges                   4,620.82
                              Dues and Subscriptions             0.00
                              Commissions Expense           13,433.00
                              Insurance Expense             44,050.40
                              Interest Expense             281,059.50
                              Janitorial                     1,400.00
                              Landscape Maintenance         32,535.22
                              Lease Expense                      0.00
                              Legal & Professional          11,462.50
                              Office Supplies                  640.79
                              Outside Services               2,520.00
                              Pest Control                       0.00
                              Postage and Duplication        1,300.10
                              Property Tax                  54,444.19
                              Repairs                       20,197.91
                              Telephone                      3,649.13
                              Travel                             0.00
                              Utilities                     14,891.54
                              Waste                         21,489.66
              Total Expense                                507,694.76


                              Net Income                    -37,059.60
